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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                       (Baltimore Division)

    In re                                                    Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,                Chapter 11

                             Debtors. 1                      (Jointly Administered)

                                                             Objection Deadline:
                                                             May 15, 2025

                  NOTICE OF SECOND MONTHLY FEE APPLICATION OF SAUL
                EWING LLP, COUNSEL TO THE DEBTORS, FOR ALLOWANCE OF
                  COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                 THE PERIOD FROM MARCH 1, 2025 THROUGH MARCH 31, 2025

       PLEASE TAKE NOTICE that on May 1, 2025, Saul Ewing LLP (“Saul Ewing”) filed
the Second Monthly Fee Application of Saul Ewing LLP, Counsel to the Debtors, for Allowance of
Compensation and Reimbursement of Expenses for the Period from March 1, 2025 through March
31, 2025 (the “Fee Application”) with the Court.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Fee Application
must be (i) made in accordance with the Order Establishing Procedures for Interim Compensation
and Reimbursement of Expenses for Professionals [D.I. 203] (the “Interim Compensation Order”),
(ii) filed with the Clerk of the Bankruptcy Court, and (iii) served upon (a) Diamond Comic
Distributors, Inc., c/o Robert Gorin, CRO, Getzler Henrich & Associates LLC, 1110 Brickell
Avenue, 400-64, Miami, Florida 33131 (rgorin@getzlerhenrich.com); (b) the Debtors’ counsel,
Saul Ewing LLP, 1500 Market Street, 38th Floor, Philadelphia, Pennsylvania 19102, Attn: Jeffrey
C. Hampton (jeffrey.hampton@saul.com), Adam H. Isenberg (adam.isenberg@saul.com), and
Turner N. Falk (turner.falk@saul.com) and 1201 North Market Street, Suite 2300, Wilmington,
Delaware 19801, Attn: Paige N. Topper (paige.topper@saul.com) and Nicholas Smargiassi
(nicholas.smargiassi@saul.com); (c) the Office of the United States Trustee for the District of
Maryland, Attn: Gerard R. Vetter (gerard.r.vetter@usdoj.gov) and Hugh M. Bernstein
(hugh.m.bernstein@usdoj.gov); (d) counsel to the Committee: Lowenstein Sandler LLP, 1251
Avenue of Americas, New York, New York 10020, Attn: Bruce S. Nathan
(bnathan@lowenstein.com), Gianfranco Finizio (gfinizio@lowenstein.com), and Chelsea Frankel
(cfrankel@lowenstein.com) and One Lowenstein Drive, Roseland, New Jersey 07068, Attn:
Michael Papandrea (mpapandrea@lowenstein.com) and Tydings & Rosenberg LLP, One E. Pratt
St., Suite 901, Baltimore, Maryland 21202, Attn: Stephen B. Gerald (sgerald@tydings.com) and

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      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.



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Dennis Shaffer (dshaffer@tydings.com); and (e) counsel to JPMorgan Chase Bank, N.A.,
Troutman Pepper Locke LLP, 111 Huntington Ave., 9th Floor, Boston, Massachusetts 02199,
Attn: Jonathan      W.      Young        (jonathan.young@troutman.com),       David     Ruediger
(david.ruediger@troutman.com) and Katherine Culbertson (katherine.culbertson@troutman.com)
(collectively, the “Notice Parties”), on or before May 15, 2025 (the “Objection Deadline”).

         PLEASE TAKE FURTHER NOTICE that, if no objections to the Fee Application are
filed, served, and received before the Objection Deadline, then Saul Ewing may file a certification
of no objection with the Bankruptcy Court, after which the Debtors shall be authorized by the
Interim Compensation Order to pay Saul Ewing an amount equal to 80% of the fees and 100% of
the expenses requested in the Fee Application without the need for further order of the Bankruptcy
Court.

Dated: May 1, 2025                           SAUL EWING LLP

                                         By: /s/ Jordan D. Rosenfeld
                                            Jordan D. Rosenfeld (MD Bar No. 13694)
                                            1001 Fleet Street, 9th Floor
                                            Baltimore, MD 21202
                                            Telephone: (410) 332-8600
                                            Email: jordan.rosenfeld@saul.com

                                             -and-

                                             Jeffrey C. Hampton (admitted pro hac vice)
                                             Adam H. Isenberg (admitted pro hac vice)
                                             Turner N. Falk (admitted pro hac vice)
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7777
                                             Email: jeffrey.hampton@saul.com
                                                     adam.isenberg@saul.com
                                                     turner.falk@saul.com

                                             -and-

                                             Mark Minuti (admitted pro hac vice)
                                             Paige N. Topper (admitted pro hac vice)
                                             Nicholas Smargiassi (admitted pro hac vice)
                                             1201 N. Market Street, Suite 2300
                                             Wilmington, DE 19801
                                             Telephone: (302) 421-6800
                                             Email: mark.minuti@saul.com
                                                    paige.topper@saul.com
                                                    nicholas.smargiassi@saul.com
                                             Counsel for Debtors and Debtors in Possession


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